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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

Case No.: 5:20-cv-01527-JVS-MAA                                            Date: November 6, 2020
Title:       Hoadena Ingram v. Habeas Corpus



Present:     The Honorable MARIA A. AUDERO, United States Magistrate Judge


                    James Muñoz                                             N/A
                    Deputy Clerk                                   Court Reporter / Recorder

           Attorneys Present for Petitioner:                  Attorneys Present for Respondent:
                        N/A                                                 N/A

Proceedings (In Chambers):              Order to Show Cause Why the Petition Should Not Be
                                        Dismissed for Failure to Prosecute

        On July 30, 2020, the Court received and filed Petitioner Hoadena Ingram’s (“Petitioner”)
pro se petition for writ of habeas corpus pursuant to 28 U.S.C. § 2254 (“Section 2254”) (“Petition”).
(Pet., ECF No. 1.) The Petition alleges one ground for federal habeas relief. Petitioner challenges a
2013 sentencing enhancement that was based on prior convictions obtained by guilty plea. (Id. at 2–
3.) He relies on a 2019 state legislative enactment, California Assembly Bill No. 1618, which
renders void as against public policy certain guilty plea agreements that include a waiver of the right
to raise claims based on future changes in the law. (Id. at 3–5.)

         On August 11, 2020, the Court issued an Order identifying several procedural defects with
the Petition and ordering Petitioner file a response no later than October 13, 2020 (“August 11
Order”). (Aug. 11, 2020 Or., ECF No. 3.) Specifically, the Court ordered Petitioner to do the
following: (1) to show cause why the Petition should not be summarily dismissed as an unauthorized
second or successive Section 2254 petition (id. at 1–4); (2) to name the warden of his institution as a
proper respondent, or otherwise show cause why the Petition should not be summarily dismissed for
lack of personal jurisdiction (id. at 4–5); and (3) to pay the $5 filing fee or file a request to proceed
in forma pauperis with supporting documentation (id. at 5). The Court cautioned Petitioner that
failure to file a response regarding each of these issues by October 13, 2020 would result in a
recommendation that the Petition be dismissed for failure to prosecute and to comply with a court
order. (Id. at 4–5.)

         To date, Petitioner has not responded to the August 11 Order as required.



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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No.: 5:20-cv-01527-JVS-MAA                                     Date: November 6, 2020
Title:       Hoadena Ingram v. Habeas Corpus


       Accordingly, Petitioner is ORDERED TO SHOW CAUSE by no later than December 7,
2020 why the Court should not recommend that the case be dismissed for lack of prosecution. See
Fed. R. Civ. P. 41(b); C.D. Cal. L.R. 41-1, 41-6.

       Failure to comply with this order will result in a recommendation that this action be
dismissed for failure to prosecute and for failure to comply with court orders pursuant to
Federal Rule of Civil Procedure 41(b).

         It is so ordered.




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